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                                             OFFICE OF THE CLERK

PATRICIA S. DODSZUWEIT             UNITED STATES COURT OF APPEALS                     TELEPHONE
                                             FOR THE THIRD CIRCUIT                   215-597-2995
          CLERK                        21400 UNITED STATES COURTHOUSE
                                              601 MARKET STREET
                                          PHILADELPHIA, PA 19106-1790
                                       Website: www.ca3.uscourts.gov

                                             January 29, 2024


George Snyder
PO Box 15
Irwin, PA 15642


RE: In Re: U Lock Inc
Case Number: 24-1163
District Court Case Number: 2-23-cv-00691

PACER account holders are required to promptly inform the PACER Service Center of
any contact information changes. In order to not delay providing notice to attorneys or pro
se public filers, your information, including address, phone number and/or email address,
may have been updated in the Third Circuit database. Changes at the local level will not be
reflected at PACER. Public filers are encouraged to review their information on file with
PACER and update if necessary.

Attorneys are required to file all documents electronically through the Court's Electronic
Case Filing System. See 3d Cir. L.A.R. 113 and the Court's website at
www.ca3.uscourts.gov/cmecf-case-managementelectronic-case-files.

To All Parties:


Enclosed is case opening information regarding the above-captioned appeal filed by George
Snyder, docketed at No. 24-1163. All inquiries should be directed to your Case Manager in
writing or by calling the Clerk's Office at 215-597-2995. This Court's rules, forms, and case
information are available on our website at http://www.ca3.uscourts.gov.

Appellant

Payment of fees is required upon filing a Notice of Appeal from a District Court decision. All
fees are to be paid to the District Court. The following fees are currently unpaid:

       $5.00 District Court filing fee AND
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       $500.00 Court of Appeals docket fee if the notice of appeal was filed prior to
       December 1, 2023;
       OR
       $600.00 Court of Appeals docket fee if the notice of appeal was filed on or after
       December 1, 2023.

If you cannot afford to pay the docketing fees, you must file a Motion for Leave to Proceed In
Forma Pauperis, together with an affidavit of poverty (form enclosed) and a certificate of service.

You must pay the docketing fees or file the Motion for Leave to Proceed In Forma Pauperis
within fourteen (14) days from the date of this letter. If you do not pay the docketing fees or
file the Motion for Leave to Proceed In Forma Pauperis within fourteen (14) days, your
case may be dismissed without further notice. 3rd Cir. LAR Misc. 107.

Counsel for Appellee

As counsel for Appellee(s), you must file:
1. Application for Admission (if applicable);
2. Appearance Form
3. Disclosure Statement (except governmental entities)

These forms must be filed within fourteen (14) days from the date of this letter.


Please note: If any party has filed one of the motions listed in Fed.R.App.P 4(a)(4) after the
notice of appeal has been filed, that party must immediately inform the Clerk of the Court of
Appeals in writing of the date and type of motion that was filed. The case in the court of appeals
will not be stayed absent such notification.

Attached is a copy of the full caption as it is titled in the District Court. Please review
the caption carefully and promptly advise this office in writing of any discrepancies.

Enclosures:

Affidavit of Poverty
Information for Pro Se Litigants

For the Court,


s/ Patricia S. Dodszuweit
Clerk

s/ pdb for sb Case Manager 267-299-4926
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cc:

Stuart C. Gaul Jr.
John A. Roth
Sarah E. Wenrich
Robert H. Slone (For Information Only)
U.S. Trustee (For Information Only)
